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               Exhibit C
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                                          May 10, 2022



Via Electronic Mail

Daniel J. Matheson, Esq.
Federal Trade Commission
Bureau of Competition
400 Seventh Street, S.W.
Washington, D.C. 20024

               Re:    FTC v. Meta Platforms, Inc., Case No. 1:20-cv-03590-JEB (D.D.C.)

Dear Dan:

        I write on behalf of Meta Platforms, Inc. (“Meta”) to memorialize the May 6, 2022 meet-
and-confer between the Federal Trade Commission (“FTC”) and Meta regarding Meta’s First Set
of Interrogatories to the FTC, dated March 30, 2022, and Meta’s First Set of Requests for
Production of Documents, dated March 9, 2022. 1 We request your prompt response to the issues
identified in this letter, so that the parties can resolve these fundamental issues, either through
your prompt supplementation of your responses, or through Court intervention if we cannot
reach agreement. We discuss herein only some of the FTC’s interrogatory responses; we do not
concede that any unmentioned responses are adequate; and we reserve all rights with respect to
all of Meta’s discovery requests.

I.     The FTC Must Provide Substantive Responses to Interrogatory Nos. 10 and 12,
       Which Ask the FTC To Identify what Qualifies as “Personal Social Networking” on
       Facebook, Instagram, WhatsApp, and Facebook Messenger

        Interrogatory No. 10 asks a straightforward question: “For each feature or activity
available to users on Facebook, Instagram, WhatsApp, or Facebook Messenger, specify whether
the feature or activity is or is not within the definition of ‘personal social networking’ (see
Amended Complaint ¶ 164).” In response to this Interrogatory, the FTC lodged objections,

       1
         FTC Participants on the May 6, 2022 call, in addition to yourself, included Tim Slattery,
Sunila Steephen, and Abby Dennis. Participants for Meta included Kevin Huff, Kevin Horvitz,
Ana Paul, Vivian Dong, and Justin Berg.
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contending that the request was vague and premature, and quoted your assertion in the Amended
Complaint that “‘personal social networking services’” are “‘online services that enable and are
used by people to maintain personal relationships and share experiences with friends, family, and
other personal connections in a shared social space,’” and you reiterated “the three key
elements” that the Amended Complaint contends “distinguish personal social networking
services from other forms of online services provided to users.” (Quoting Am. Compl. ¶ 166.)
However, regurgitation of the Amended Complaint is not a sufficient response. See V5 Techs. v.
Switch, Ltd., 334 F.R.D. 297, 304–05 (D. Nev. 2019) (“An interrogatory response is improper if
it merely references information contained in declarations, pleadings, or other discovery
responses.”) (collecting cases). Although the FTC has conceded that not all time spent using
Facebook and Instagram qualifies as time spent using personal social networking services
(“PSNS”), the response to this Interrogatory is plainly deficient because it does not identify any
activity that is performed on any of these Meta applications that either is or is not within the
FTC’s definition of using PSNS.

        Interrogatory No. 12 asks another simple question: “State whether a user is engaging in
personal social networking services when that user is not utilizing each of the ‘[t]hree key
elements’ of personal social networking (see Amended Complaint ¶¶ 166-169), and state the
basis for your answer.” In response to this Interrogatory, you lodged objections, contending that
the request is premature, and that the “Substitute Amended Complaint does not describe
‘personal social networking services’ based on whether a user is or is not ‘utilizing’ any
particular ‘elements’ that distinguish online ‘personal social networking services’ from other
online services and products.” You did not provide any answer to this Interrogatory, and your
response is therefore deficient.

       A.      Interrogatory Nos. 10 and 12 Seek Highly Relevant Information

        Interrogatory Nos. 10 and 12 seek highly relevant information that goes to the heart of the
issues in this case. As you know, the FTC alleges that Facebook and Instagram are PSNS
providers and that Meta is an alleged monopolist in the provision of PSNS in the United States.
See Am. Compl. ¶¶ 164, 179; see also Am. Compl. ¶ 202 (alleging that if one assumes that 50%
of time spent on Facebook and Instagram qualifies as time spent using personal social
networking services — “Facebook’s share of time spent on U.S. personal social networking
services in each month would still have averaged 85% since September 2012.”).

       To combat the FTC’s market definition and allegations of market power, Meta must
understand, at a minimum, which portions of its own products are in the alleged market and
which are not. See Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018) (explaining that
without “an accurate definition of the relevant market” that outlines “the area of effective
competition” for the defendant’s product and “reflects commercial realities,” there is “no way to
measure” whether the defendant has any “ability to lessen or destroy competition” and harm the
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consumers the antitrust laws are designed to protect) (internal quotation marks omitted). That
information is entirely in the FTC’s possession because the PSNS market is a litigation construct
created by the FTC for this litigation. See FTC v. Facebook, Inc., 560 F. Supp. 3d 1 (D.D.C.
2021) (noting that the FTC’s alleged market is “idiosyncratically drawn”) (internal quotation
marks omitted).

        As we explained during our call, Meta is entitled to know which activities on Facebook,
Instagram, WhatsApp, and Facebook Messenger constitute the use of PSNS and which do not.
The FTC has taken the position that not everything done on Facebook and Instagram qualifies as
time-spent using PSNS. Rather than alleging that Facebook and Instagram are used purely for
PSNS, the FTC alleged that “Facebook Blue and Instagram are predominantly used as personal
social networking services,” Am. Compl. ¶ 202 (emphasis added). The FTC highlighted this
allegation in its opposition to Meta’s motion to dismiss (at 6-7), asserting that the Amended
Complaint should not be dismissed because it had alleged that users spent at least “half of their
time on Facebook Blue and Instagram using PSN services.” The FTC could not have made those
factual representations under Federal Rule of Civil Procedure 11 if it did not know what
activities on Facebook and Instagram it contended qualify as the use of a PSNS under the FTC’s
definition, and which activities do not. See King v. E.F. Hutton & Co., 117 F.R.D. 2, 5 (D.D.C.
1987) (ordering plaintiff to respond to the interrogatory, because “plaintiffs must have had some
factual basis” for making the allegation, “at the time the complaint was filed,” and observing that
“Rule 11 . . . requires no less”).

        Moreover, the Court’s denial of Meta’s motion to dismiss was premised on the Court’s
understanding that not all activities performed on Facebook and Instagram qualify as the use of a
PSNS. See FTC v. Facebook, Inc., 2022 WL 103308, at *8 (D.D.C. Jan. 11, 2022) (“Defendant
is correct that data capturing time spent on platforms providing PSN services includes more than
time spent just using such services.”). Which features or activities on Facebook and Instagram
are in the alleged market, however, is a complete black box to Meta. As the Court observed, the
FTC’s vague complaint, “[leaves] open . . . exactly which features of Facebook, Instagram, et
al. do and do not constitute part of their PSN services.” FTC v. Facebook, 560 F. Supp. 3d 1.
This leads to innumerable questions:

       The Commission, for instance, expressly alleges that social-networking services based on
       “interest-based . . . connections” such as Strava are not, by its definition, PSN
       services. [Redacted Compl.] ¶ 58. That definition of what is in the market, perhaps
       counterintuitively to Facebook users, would mean that time a user spends engaging with
       specific interest-based Facebook pages or groups may not qualify as time spent on a PSN
       service. The same problem arises when a user “passive[ly] consum[es]” “online video”
       on a PSN service. Id., ¶ 59. To the extent that, say, Instagram users spend their time on
       the site or app watching a comedy routine posted by the official page of a famous
       comedian, are they spending time on a PSN service?
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Id. In our meet-and-confer, we posed a handful of other representative examples of activities on
Facebook and Instagram that Meta does not know how the FTC classifies, including “viewing
content on your Facebook Feed that was not posted by one of your Facebook friends,” “viewing
content on Instagram posted by a celebrity that the user follows,” “viewing a video on Instagram
Reels posted by an individual that the user does not follow,” and “watching a movie trailer
embedded on the official page of a movie.” 2 The answers to these questions are uniquely in the
possession of the FTC.

        It is critical for the FTC to explain to Meta the contours of the FTC’s definition of the
relevant antitrust market. The FTC made up this PSNS market; it is not a term that Meta uses; it
is not grounded in industry practice; and it is not supported by economic reality. As such, the
FTC’s contentions about the scope and contours of this market are solely in the FTC’s
possession. Meta cannot defend against the FTC’s allegations or meaningfully conduct
discovery without knowing what activities are inside or outside of the alleged relevant market.
Meta needs to know the scope of the market so it can defend against that alleged market
definition and the FTC’s allegation that Meta possesses monopoly power in that alleged market.
Market definition and monopoly power are two of the key issues in any antitrust case. See FTC
v. Facebook, 2022 WL 103308, at *4 (describing as “threshold inquiry” whether “Facebook has
monopoly power in a relevant market”); Am. Express Co., 138 S. Ct. at 2285 (“Without a
definition of [the] market there is no way to measure [the defendant’s] ability to lessen or destroy
competition.”) (internal quotation marks omitted).

        In addition, Meta needs this information at the outset of the case, not later. For example,
Meta needs to know the full scope of the FTC’s proposed market in order to seek appropriate
testimony from third parties about their views of the FTC’s proposed market. Views of market
participants on the scope of a proposed antitrust market are a key tool in testing the “boundaries”
of any such market. Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962); see also, e.g.,
FTC v. Sysco Corp., 113 F. Supp. 3d 1, 32-33 (D.D.C. 2015) (citing testimony from an
“industry’s [various] players regarding the boundaries of the product market”). The FTC’s
withholding of this information would therefore deprive Meta of its ability to effectively collect
evidence on this central issue. Therefore, the information sought in Interrogatory Nos. 10 and 12
is highly relevant and Meta needs it now instead of later in the course of the litigation.




       2
         See also, e.g., FTC v. Facebook, 2022 WL 103308, at *7 (indicating that “watching a
movie trailer embedded on the official page of the movie” likely does not qualify as “engaging
with a PSN service . . . given how the FTC defined the market”).
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       B.     The FTC’s Objections Are Meritless

       In the FTC’s response to Meta’s interrogatories and again on our meet-and-confer call,
you raised a handful of meritless objections to Interrogatory Nos. 10 and 12.

        First, you claimed not to understand the interrogatories on the ground that “personal
social networking service” is a noun and Meta’s interrogatories sought information about users
engaging in “personal social networking,” which you said was a verb. This is sophistry. The
FTC itself has used the term “personal social networking” as a verb. See Compl. ¶ 11
(“Instagram—a mobile-first app that enables users to engage in personal social networking with
family and friends through taking, editing, sharing, and commenting on photographs.”). The
FTC has also said that users “use” “personal social networking.” E.g., Am. Compl. ¶ 21. It is
clear from the context of the interrogatories – as well as from the FTC’s own allegations and the
Court’s decision – that we seek information about what uses of Facebook or Instagram services
constitute PSNS and which do not. In any event, we clarified this point during the meet-and-
confer, which confirms that there is no valid basis for an objection on this point. The FTC is
obligated to answer the interrogatory, and cannot continue to feign ignorance over the type of
information Meta is seeking. See Escamilla v. Nuyen, 2015 WL 4245868, at *5 (D.D.C. July 14,
2015) (“Interrogatories . . . should not be read or interpreted in an artificially restrictive or
hypertechnical manner to avoid disclosure of information fairly covered by the discovery
request.”) (internal quotation marks omitted).

        Second, you argued that it is premature for the FTC to answer these interrogatories. To
the contrary, it is critical that the FTC provide this information at the outset of the case. As
noted above, the concept of PSNS is a creation of the FTC. Only the FTC has information about
what is inside or outside of that made-up definition. The FTC has already had 18 months of
discovery during which Meta and several third parties produced a total of millions of pages of
documents and the FTC took testimony in 18 investigative hearings. The FTC’s Amended
Complaint alleges that there is a relevant antitrust market for PSNS and that Meta has a 70-85%
market share in that market. The FTC alleged that activities on Facebook and Instagram were
“predominately” PSNS. In order to make these allegations in good faith, the FTC must have
known what activities were inside and outside of its definition of PSNS. Meta is entitled to
know that information now. And while the FTC can take discovery to try to further substantiate
alleged market definition, no amount of documents or testimony in fact discovery will provide
Meta with any clarity on what the FTC alleges, because there is no evidence that the term
“personal social networking” is used by any market participants, and the FTC is in exclusive
possession of the meaning of its coined term. There is no reason to delay responses to these
foundational framing issues. Indeed, it is not uncommon for courts to order detailed responses to
interrogatories before expert reports in antitrust cases and cases where the government has
benefited from substantial pre-complaint discovery. See, e.g., In re Urethane Antitrust Litig.,
2009 WL 2058759, at *2 (D. Kan. July 15, 2009) (although the “expert may identify additional
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[information] that support[s] plaintiffs’ claims, plaintiffs may not shirk their duty of answering
[contention interrogatories] now ‘with whatever information they have.’”) (citation and footnote
omitted); SEC v. Blackwell, 2004 WL 6829614, at *3 (S.D. Ohio Jan. 15, 2004) (ordering
response to contention interrogatory where “discovery ha[d] just begun” since “the Commission
is . . . not in the same position as an ordinary civil litigant that has yet to commence discovery
. . . [as] it has the benefit of having conducted a lengthy investigation” and explaining that “[t]he
rationale behind the postponement of contention interrogatories is thus not present here, where
the Commission has already conducted significant discovery and should have, in fact is required
to have, adequate information to support the contentions in its Complaint”); United States ex rel.
Dougherty v. Guild Mortg. Co., 2020 WL 3542391, at *5 (S.D. Cal. June 30, 2020) (ordering
government plaintiff to respond to purported contention interrogatory prior to the conclusion of
fact discovery, and explaining that the “Government’s two-year statutory investigation should
have enabled it to identify the specific allegations . . . as soon as discovery commenced”).

       Third, your argument that the interrogatories should count as multiple discrete subparts is
incorrect. Courts “apply a ‘pragmatic approach’ when determining whether an interrogatory
should count as more than one question within the meaning of Rule 33” and it is clear from the
context that these two interrogatories count as only one interrogatory each. Ramirez v. U.S.
Immigration & Customs Enf’t, 2019 WL 11623990, at *2 (D.D.C. June 4, 2019) (explaining that
even when there are technical subparts, if the “subparts all relate to the common theme” they
only count as one interrogatory).

          C.     Supplementation

        In our meet-and-confer, we provided further clarification on what information we sought
in Interrogatory Nos. 10 and 12. You stated that you would consider whether you would be
willing to provide supplemental answers to these two Interrogatories. Please let us know by May
13 whether you are, in fact, willing to supplement your answers to these Interrogatories, and if so
please supplement your answer by May 20. If you are not willing to do so, then we will consider
the parties at impasse and will promptly raise this dispute with the Court.

II.       The FTC’s Remaining Interrogatory Responses

        Below, Meta provides a brief overview of our discussion relating to the some of the other
interrogatories, and remaining follow up items.

      •   Interrogatory No. 1: This Interrogatory asks the FTC to “Identify all Persons You
          communicated with relating to Your Prior Instagram Investigation, Prior WhatsApp
          Review, Pre-Complaint Investigation, or any allegation in the Complaint or Amended
          Complaint.” In our meet-and-confer, we asked the FTC to identify all individuals it
          interviewed or requested to interview in connection with the Prior Instagram
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       Investigation, Prior WhatsApp Review, and Pre-Complaint Investigation. You stated you
       would confer internally on whether you can provide that list. Please let us know by May
       13 whether you intend to provide the requested list, and if so, please let us know by when
       you will do so.

   •   Interrogatory No. 2: This Interrogatory asks the FTC to “Identify all Communications
       between You and any other Person relating to the Prior Instagram Investigation, Prior
       WhatsApp Review, Pre-Complaint Investigation, or any allegation in the Complaint or
       Amended Complaint.” In our meet-and-confer, we clarified that we would consider this
       Interrogatory satisfied if you convey the sum and substance of the factual information
       conveyed by non-parties in each of your interviews in the Prior Instagram Investigation,
       Prior WhatsApp Review, and Pre-Complaint Investigation. You indicated that this
       information might be privileged. We do not believe that purely factual information
       conveyed to the FTC is privileged. Please indicate, by May 13, whether you intend to
       provide the requested information and if so by when.

   •   Interrogatory No. 3: This Interrogatory asks the FTC to “Identify all Products that have
       offered ‘personal social networking services’ in the United States (see Amended
       Complaint ¶ 164), and the time periods during which those Products offered personal
       social networking services.” In your response, you provided a list of the same providers
       you identified in the Amended Complaint. In our meet-and-confer, you clarified that
       your response to Interrogatory No. 3 lists the only providers of PSNS in the United States
       that the FTC is currently aware of. As requested in the Interrogatory, please promptly
       supplement your response to identify the dates those firms entered or exited the alleged
       personal social networking services market.

   •   Interrogatory No. 5: This Interrogatory asks the FTC to “State the basis for Your
       decision to permit Meta’s acquisition of WhatsApp to proceed in 2014 without
       challenging the transaction in an administrative proceeding or in federal court.” Your
       response states that “the FTC responds that the Commission did not make any decision
       regarding the WhatsApp transaction.” In our meet-and-confer, we asked for clarification
       as to whether the FTC believes its response is factually accurate, or potentially
       overstated, given that it cannot be disputed that the Commission did not issue a second
       request. You reiterated your view that the FTC’s response is factually accurate.

   •   Interrogatory Nos. 8 and 9: These Interrogatories ask you to identify any FTC personnel
       that participated in the Prior Instagram Investigation or Prior WhatsApp Review. We
       explained that these individuals possess relevant information, and you did not indicate
       that providing such a list would be burdensome. Please indicate, by May 13, whether you
       intend to provide the requested list and if so by when you will do so.
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       •   Interrogatory No. 11: This Interrogatory states, “For each Product identified by You in
           response to Interrogatory No. 3, provide the total number of minutes spent by users on
           personal social network features or activities on that Product for each year from 2011 to
           the present (see Amended Complaint ¶ 202).” You objected to responding to this request
           on the ground that “personal social network features or activities” is not used in the
           Amended Complaint. We explained in our meet-and-confer that you can interpret the
           number of minutes spent by users on “personal social network features or activities” as
           equivalent to the number of minutes spent by users “using personal social networking
           services” (see Am. Compl. ¶ 202). In light of this clarification, please supplement your
           response based on the facts in your possession at this time. Given your allegation that
           “Facebook Blue and Instagram are predominantly used as personal social networking
           services” and your focus on how applications are “primarily” used (see, e.g., Am. Compl.
           ¶ 172), we would expect that the FTC should be able to answer this question at least
           preliminarily.

III.       The FTC’s Responses to Meta’s Requests For Production

        At the conclusion of our meet-and-confer on May 6, we asked again about your response
to Meta’s First Set of Requests for Production of Documents, dated March 9, 2022. You stated
that you were not prepared to discuss those issues, declined our request to discuss on Monday or
Tuesday of this week, and indicated that you would respond to our letter of May 4, 2022 at some
point this week. As we have told you, we believe that the FTC is required to produce (among
other things) the staff and economist memoranda compiling relevant facts relating to the Prior
Instagram Investigation and Prior WhatsApp Review. Based on our communications with you, it
is clear that the FTC refuses to produce these documents. If that is wrong, and the FTC has
changed its mind and is now willing to produce these staff and economist memoranda, please let
us know immediately. Otherwise, we consider ourselves at impasse on those documents.



                                                       Sincerely,

                                                       /s/ Kevin B. Huff

                                                       Kevin B. Huff
